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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                           No. 15-864V
                                    Filed: September 12, 2016
                                        Not for Publication


*************************************
KENNETH BITTICKS,                            *
                                             *
              Petitioner,                    *           Damages decision based on
                                             *           stipulation; influenza (“flu”)
 v.                                          *           vaccine; Guillain-Barré syndrome
                                             *           (“GBS”); Chronic Inflammatory
SECRETARY OF HEALTH                          *           Demyelinating
AND HUMAN SERVICES,                          *           Polyradiculoneuropathy (“CIDP”)
                                             *
              Respondent.                    *
                                             *
*************************************
Alison H. Haskins, Sarasota, FL for petitioner.
Linda S. Renzi, Washington, DC, for respondent.

MILLMAN, Special Master


                              DECISION AWARDING DAMAGES 1

         On September 12, 2016, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that his receipt of influenza
(“flu”) vaccine on November 19, 2012 caused him to develop Guillain-Barré syndrome (“GBS”)
and Chronic Inflammatory Demyelinating Polyradiculoneuropathy (“CIDP”). Respondent
denies that petitioner’s flu vaccine caused him to develop GBS, CIDP, any other injury, or his
current condition. Nonetheless, the parties agreed to resolve this matter informally.


1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that all
decisions of the special masters will be made available to the public unless they contain trade secrets or
commercial or financial information that is privileged and confidential, or medical or similar information
whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a decision is
filed, petitioner has 14 days to identify and move to redact such information prior to the document=s
disclosure. If the special master, upon review, agrees that the identified material fits within the banned
categories listed above, the special master shall redact such material from public access.
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        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ attached stipulation and awards compensation in the amount and on the terms
set forth in the stipulation. Pursuant to the stipulation, the court awards:

    a. a lump sum of $218,368.00 representing compensation for first year life care expenses
       ($8,494.00), pain and suffering ($204,974.00), and past unreimbursable expenses
       ($4,900.00). The award shall be in the form of a check payable to petitioner in the amount
       of $218,368.00; and

    b. an amount sufficient to purchase the annuity contract described in paragraph 10 of the
       attached stipulation, paid to the life insurance company from which the annuity will be
       purchased.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: September 12, 2016                                                          s/ Laura D. Millman
                                                                                      Laura D. Millman
                                                                                       Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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